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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )             8:05CR145
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
SALVADOR RANGEL,                                   )
                                                   )
                     Defendant.                    )




       This matter is before the court on the motion of James R. Kozel to withdraw as CJA
court-appointed counsel for the defendant, Salvador Rangel (Rangel) (Filing No. 38). Since
retained counsel, Hugh I. Abrahamson, has entered an appearance for Rangel (Filing No. 32),
Mr. Kozel’s motion to withdraw (Filing No. 38) is granted. Withdrawing counsel shall submit
his CJA 20 voucher to the Office of the Federal Public Defender within forty-five (45) days of
this order.
       The clerk shall provide a copy of this order to the Office of the Federal Public Defender.
       IT IS SO ORDERED.
       DATED this 18th day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
